 

Court Use only above this line.

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT ()F TENNESSEE

AIA ENGINEERING LIMITED

Plaintiff,
vs.

MAGOTTEAUX INTERNATIONAL S/A Civil Action No. 3109-cv-00255
and MAGOTTEAUX, INC.

Defendants/Counterclaim
Plaintiffs. JUDGE HAYNES

 

MAG()TTEAUX INTERNATIONAL S/A

MM
and MAGOTTEAUX, INC. Ww
Third Party Plaintiffs, pin/l 629 M/¢W
VEGA INDUSTRIES, LTD., INC. M W 7'1.4/ W
Third Party Defendant. ,@<'3/ M ’M

VS.

 

 

THIRD PARTY DEFENDANT TO RESPOND TO INTERROGATORIES
AND TO PRODUCE DOCUMENTS M'

Defendants and Third Party Plaintiffs, Magotteaux International S/A and \\/g`gb?t`€%j'§@'\

Inc. (collectlvely Magotteaux ) move thls Court under Fed. R. C1v. P. 37(a) to compel Plalntl%

/J
DEFENDANT’S MOTION TO COMPE PLAINTIFF AND @ %:l/L

AIA Engineering Limited and Third Party Defendant Vega Industries, Ltd., Inc. (collectively

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